Case 2:04-cr-20482-.]PI\/| Document 32 Filed 07/21/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

Page|D 50

Fll.ED BY _,,__,_ D.C.

05 JUL 2| PH 3= 58

 

UNITED STATES OF AMERICA
Plaintiff,

VS

TRACY CAMPBELL

Defendant(s)

CR. NO. 04-20482-Ml

R‘I(L),¥MS M GUULD

_. *,S. f`
W-'Di'.`!;"' 1

   

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set Report on Friday, July 22, 2005 at 9:00 a.m.

Counsel for the defendant requested a continuance of the present setting.

The continuance is necessary to allow for additional preparation in the

CB.S€ .

The Court granted the request and continued the matter for Report

to Friday, August 26, 2005 at 9:00 a.m. with a trial date of Tuesday,

Septem_ber 6, 2005 at 9:30 a.m.

'I'he period from August 12, 2005 through September 16, 2005 is

excludable under 18 U.S.C. § 3161(1'1) (8)(13) (iv) to allow defense counsel

additional time to prepare.

IT IS SO ORDERED this the gil day of July, 2005.

mm

JON PHIPPS MCCALLA

UN ED STATES DISTRICT JUDGE

This document entered on the docket sheet in compliance
with Hufe 55 and/or 32(b} FRCrP on "

 

 
 

   

uNlTED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20482 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

Memphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

